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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
HDM/JS/PC/GN                                       271 Cadman Plaza East
F. #2016R00695                                     Brooklyn, New York 11201


                                                   January 5, 2024

By ECF

The Honorable Nicholas G. Garaufis
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Manuel Chang
                       Criminal Docket No. 18-681 (NGG)

Dear Judge Garaufis:

              The parties have conferred and propose the following schedule for the defendant’s
omnibus motion: (1) the defendant’s brief due February 14, 2024; (2) the government’s response
due March 22, 2024; and (2) the defendant’s reply due April 5, 2024. The parties request oral
argument on the motion the week of April 15, 2024 at the Court’s convenience.



                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:      /s/
                                                   Hiral D. Mehta
                                                   Jonathan Siegel
                                                   Genny Ngai
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000


cc:    Adam Ford, esq. (by ECF)
